                                                                              DISTRICT OF OREGON
                                                                                    FILED
                                                                                December 28, 2017
                                                                           Clerk, U.S. Bankruptcy Court



      Below is an Order of the Court.




                                                             _______________________________________
                                                                        DAVID W. HERCHER
                                                                       U.S. Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

     In re                                        Bankruptcy Case Nos.:

     Steven S. Sobella                            17-34449-dwh12 (Lead Case)
     Brenda K. Sobella; and
     Sobella Nursery, Inc.,                       17-34446-dwh12

                                                  Jointly Administered Under
                                                  Case No. 17-34449-dwh12

                                                  FINAL ORDER AUTHORIZING USE OF
                    Debtors.                      CASH COLLATERAL


             THIS MATTER came before the Court on December 18, 2017 on the motion of

    the above Debtors (collectively "Debtors"), for authority to use cash collateral (“Motion”)

    (Dkt. No. 16), due and adequate notice under the circumstances having been given,

    and the Court having heard the representations and argument of counsel, and being

    otherwise fully advised

             The Court finds that the entity, Northwest Farm Credit Services, PCA (the "Lien

    Creditor"), may claim a lien in the Cash Collateral based upon the following:


Page 1 of 5 - FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL



                         Case 17-34449-dwh12      Doc 58    Filed 12/28/17
                 Lien                         Amount
                Creditor           UCCs        Owing          Collateral                   County
       Northwest Farm            7466918-1 $1,390,431.37 Nursery Stock (and          Clackamas
       Credit Services, PCA      7466918-2                 products) (Farm           (County Code 03)
                                 7466918-3               Product Code 0907)

           NOW, THEREFORE, it is ORDERED as follows:

           1.       Debtors are authorized to use Cash Collateral of $428,314.00 for the

    period from November 30, 2017 through and including April 27, 2018 (the "Budget

    Period") in accordance with the attached Budget (Exhibit 1). Debtor’s authority to use

    Cash Collateral is limited to the uses of cash collateral as set forth in the Budget;

    together with a 15% cumulative variance.

           2.       As adequate protection, the Lien Creditor is granted a replacement lien

    upon all post-petition assets of the Debtors which are of the identical description to its

    prepetition collateral.

           3.       Debtors will timely perform and complete all actions necessary and

    appropriate to protect Lien Creditor’s collateral against diminution in value.

           4.       Nothing in this Order shall be construed to (a) grant a security interest in

    the Debtors’ or trustee's avoidance powers; (b) convert any prepetition obligations into

    post-petition obligations; (c) require payment of any obligations on confirmation of a

    plan of reorganization, except as otherwise provided under the Bankruptcy Code; (d)

    alter, improve, limit or impair the rights, if any, of parties claiming to have rights of

    reclamation against Debtors, or its assets or (e) enhance the secured position of any

    creditor as of the Petition Date. Further, nothing in this order shall preclude Lien

    Creditors from asserting claims for any further amounts that may be owed by the

    Debtors.

    ///

Page 2 of 5 - FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL


                           Case 17-34449-dwh12       Doc 58    Filed 12/28/17
           5.     Debtors are authorized to execute and deliver to the Lien Creditor such

    instruments considered by the Lien Creditor to be necessary or desirable to perfect the

    secured interests and liens given to the Lien Creditor, and the Lien Creditor is

    authorized to receive, file, and record the same.

           6.     Nothing contained in this Order shall constitute a determination as to the

    amount, validity, or priority of any pre-petition obligation, security interest, or lien and all

    rights of parties in interest to claim that any pre-petition lien or security interest in

    Debtors’ property is unperfected, unenforceable, invalid, or voidable, are reserved.

    Additionally, nothing in this Order shall constitute an admission or acknowledgement by

    Debtors that any party has a valid or perfected lien in the cash of Debtors now existing

    or subsequently received, and the references herein to “Cash Collateral” are without

    prejudice to all rights, defenses, and claims of Debtors to contend that any party does

    not have a perfected lien or security interest in such collateral.

           7.     Debtors’ authority to use Cash Collateral may be extended beyond the

    amount in Paragraph 1 or the Budget Period by mutual agreement of the Debtors and

    the Lien Creditor. In the event of such agreement, Debtors may submit a further order

    extending Debtors’ authority to use Cash Collateral on the same terms and conditions

    as provided herein without an additional motion or hearing. Notice of the proposed

    extension, including the applicable Budget, shall be provided to creditors and parties in

    interest with 14 days for filing objections thereto. If no objections are received, the

    extension order will take effect upon its stated date of commencement.

           8.     In the event of a default under the terms of this Order, and unless the

    Debtors cure such default within ten (10) days after receiving written notice of the

    default, the Debtors’ right to use Cash Collateral shall be terminated and the Debtors

Page 3 of 5 - FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL


                         Case 17-34449-dwh12         Doc 58     Filed 12/28/17
    shall be further prohibited from using Cash Collateral without obtaining a court order

    allowing such use.

             9.    Except as otherwise authorized by an order of this Court, the Debtors

    shall deposit all funds received since the Petition Date and during the pendency of this

    case in the Debtors’ bank account or accounts and that all expenses of the Debtors

    during the pendency of this case shall be paid from such accounts. Debtors shall not

    prepay expenses except in the ordinary course of business or as authorized by a court

    order.

             10.   Debtors shall pay Lien Creditor the sum of $9,500 per month as an

    adequate protection payment for use of cash collateral through the period ending

    January 5, 2018 and shall pay Lien Creditor the sum of $11,393.63 per month as an

    adequate protection payment for use of cash collateral for the period beginning

    January 6, 2018 and ending April 27, 2018. Nothing in this Order shall constitute a

    determination on the application of such payments by Lien Creditor to its claim(s)

    against the Debtors, and this Order is without prejudice to any terms provided by the

    Debtors in their Chapter 12 Plan. Debtors to promptly provide to the Chapter 12

    Trustee proof of payment of the adequate protection payments.

             11.   Northwest Farm Credit Services, FLCA’s Loan No. 4077 (last 4 digits)

    shall be kept current.

             12.   Debtor Steven S. Sobella shall be limited to a salary of not more than

    $5,500.00 per month.

             13.   This Order does not contain any of the "disfavored provisions" listed in

    LBF #541.7.



Page 4 of 5 - FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL


                         Case 17-34449-dwh12       Doc 58   Filed 12/28/17
                                              ###

           I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

    PRESENTED BY:


     By:/s/Robert J Vanden Bos                      By:/s/Nicholas J. Henderson
        Robert J Vanden Bos, OSB #781002               Nicholas J Henderson, OSB #074027
        Douglas R. Ricks, OSB #044026                  MOTSCHENBACHER & BLATTNER LLP
        VANDEN BOS & CHAPMAN, LLP                      117 SW Taylor St., Ste. 300
        319 SW Washington St. Ste. 520                 Portland, OR 97204
        Portland, OR 97204                             Telephone: 503-417-0508
        Telephone: 503-241-4869                        Fax: 503-417-0528
        Fax: 503-241-3731                              Email: nhenderson@portlaw.com
                                                       Of Attorneys for Debtor
        Of Attorneys for Debtors                       Sobella Nursery, Inc.
        Steven S. and Brenda K. Sobella
                                                    Electronic Mail:
     First Class Mail:                              The foregoing was served on all CM/ECF
                                                    participants through the Court's Case
     See Attached List.                             Management/Electronic Case File system.




Page 5 of 5 - FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL


                          Case 17-34449-dwh12    Doc 58     Filed 12/28/17
                                                   Name:                   Sobella Farms


                                                   Week                       Wk1          Wk2        Wk3        Wk4        Wk5         WK5      Wk6        Wk7        Wk8        Wk9
                          1                        Date                       12/08/17     12/15/17   12/22/17   12/29/17   01/05/18   TOTAL     01/12/18   01/19/18   01/26/18     02/02/18


                           2                Initial Cash Balance                33,000     304,554    321,389    304,531    304,531    33,000    288,248    306,378    270,619      260,344
                           6              Sales - SF Stock Shipped                   0      16,742      3,127          0      5,422    25,291          0          0          0            0
                           7              Sales - SF Stock Pending                   0           0     12,000          0          0    12,000          0          0          0            0




Exhibit 1 - Page 1 of 4
                           8              Sales - BIP Sales Pending                  0           0          0          0          0      0             0          0          0            0
                           9              Sales - BIP Sales Shipped              5,040      12,663     10,707          0          0    28,410          0          0          0            0
                          10                     Pre-Payment                         0           0          0          0          0      0        25,000          0          0            0
                          11                    Custom Work                          0           0          0          0          0      0             0          0          0            0
                          12                                                                                                             0
                          13               Cash For Operations                  38,040     333,959    347,222    304,531    309,953    98,700    313,248    306,378    270,619      260,344
                          14
                          15            Income from Other Sources
                          16
                          17                    FPF Balance                    293,000           0          0          0          0    293,000         0          0          0            0
                          18                                                         0           0          0          0          0       0            0          0          0            0
                          19         Total Income from Other Sources           293,000           0          0          0          0    293,000         0          0          0            0
                          20
                          21                Total Cash Inflows                 331,040     333,959    347,222    304,531    309,953    391,700   313,248    306,378    270,619      260,344
                          22




               Case 17-34449-dwh12
                          23
                          24             Farm Operating Expenses
                          25
                          26         Labor BIWeekly +1 Monthly Salary           15,796           0      9,200          0      7,000    31,996          0     10,500          0        4,500
                          27                  Labor BB Harvest                   1,200           0          0          0      3,000     4,200          0      7,000          0        9,200
                          28         Employee. Witholding Fed.& State            6,000           0      3,300          0      3,900    13,200          0      7,800                   6,600




               Doc 58
                          29                     Burlap Twine                        0           0          0          0          0       0        3,000          0      3,500            0
                          30              Plastic Pots Harvest 2018                  0           0          0          0          0       0            0      6,000          0            0
                          31                       Har. Soil                         0           0          0          0        870      870       1,100          0      1,100        1,100
                          32              Nursery Supplies+Stakes                  950           0          0          0      1,500     2,450          0          0        750            0
                          33                 Soil Mix Production                     0       1,400          0          0          0     1,400          0          0          0            0
                          34                       Chemicals                         0           0          0          0          0       0            0          0          0        1,500
                          35                     Fertlizer/Lime                      0           0          0          0          0       0            0          0          0            0
                          36                  BI-Plants Shipped                      0           0     27,000          0          0    27,000          0          0          0       21,560




               Filed 12/28/17
                          37              BI Plants Pending to Ship                  0           0          0          0          0       0            0          0          0            0
                          38                      BI-Expense                                     0          0          0          0       0            0          0          0            0
                          39                         Liners                          0           0          0          0          0       0            0          0          0            0
                          40                  Lumber: Shipping                       0       1,270          0          0          0     1,270          0          0          0            0
                          41              Irrigation Parts & Repair                  0           0          0          0          0       0            0          0          0            0
                          42                Utilities: Water Kelso                   0           0          0          0          0       0            0          0          0            0
                          43               Utilities: Electric (PGE)               201           0          0          0        310      511           0          0          0            0
                          44          Utilities: Telephone/Internet/Cell           100           0        285          0        100      485           0        285          0          100
                          45               Monthly Bills (WM/TT)                     0           0        275          0        275      550           0          0        275            0
                          46                       Gasoline                        125           0        175          0        125      425           0        175          0          125
                          47                      Diesel-Farm                        0           0          0          0        500      500           0          0          0          850
                          48                        Propane                          0           0          0          0        500      500           0          0        750            0
                          49            Equipment Repairs & Parts                    0           0        460          0          0      460       1,400          0          0            0
                          50             Auto/Truck Repair & Parts                   0           0        888          0          0      888           0        500          0            0
                  Page 1 of 4
                          51           Insurance - SAIF               1,195         0         0        0          0    1,195          0     1,195         0         0
                          52       Insurance - John Hancock             819         0         0        0          0     819         870         0         0       870
                          53    Insurance - Liberty Mutual-Phip           0         0       708        0          0     708           0     1,804         0         0
                          54         Taxes: Property Farm                 0         0         0        0          0      0            0         0         0         0
                          55              Accounting                      0         0         0        0        600     600           0         0       600         0
                          56       Employee.Qtr Witholding                0         0         0        0          0      0            0         0     2,800         0
                          57            Fed. Tax 2017                     0         0         0        0          0      0            0         0         0         0
                          58           Oregon Tax 2017                    0         0         0        0          0      0            0         0         0         0
                          59     Custom - ACS Office-Solfware             0         0         0        0        150     150           0         0         0         0
                          60           Ore.License/Dues                 100         0         0        0          0     100           0         0         0         0




Exhibit 1 - Page 2 of 4
                          61           Farm X Expense                     0       400       400        0        500    1,300        500       500       500       500
                          62 Total Farm Operating Expenses           26,486     3,070    42,691        0     19,330   91,577      6,870    35,759    10,275    46,905
                          63
                          64 Capital, Debt & Misc. Payments
                          66                                             0          0        0         0          0     0            0         0         0         0
                          67 Northwest Farm Credit Services, FLCA        0      9,500        0         0      2,375   11,875         0         0         0         0
                          68         Kubota Loan Payment                 0          0        0         0          0     0            0         0         0         0
                          69    Total Cap, Debt & Misc. Pmts             0      9,500        0         0      2,375   11,875         0         0         0         0
                          70
                          71         Total Cash Outflows             26,486    12,570    42,691        0     21,705   103,452     6,870    35,759    10,275    46,905
                          72
                          73       Cash Required by Month            26,486    12,570    42,691        0     21,705   103,452     6,870    35,759    10,275    46,905
                          74
                          75
                          76     Ending Outstanding Balance         304,554   321,389   304,531   304,531   288,248   288,248   306,378   270,619   260,344   213,439




               Case 17-34449-dwh12
               Doc 58
               Filed 12/28/17
                  Page 2 of 4
                                     Wk10       Wk11       Wk12       Wk13       Wk14       Wk15         Wk16       Wk17        Wk18        Wk19        Wk20        Wk21       Wk21      GRAND
                           1         02/09/18   02/16/18   02/23/18   03/02/18   03/09/18     03/16/18   03/23/18    03/30/18    04/06/18    04/13/18    04/20/18    04/27/18 TOTAL      TOTAL


                           2         213,439    208,679    173,805    168,305    151,355       146,700   110,326     132,626     124,201     119,876     105,801     113,601   288,248    33,000
                           6               0          0          0          0          0             0         0           0           0           0           0           0         0    25,291
                           7               0          0          0     12,000          0             0    25,000      12,000           0      15,000      12,000      15,000    91,000   103,000




Exhibit 1 - Page 3 of 4
                           8               0          0          0          0          0             0         0           0           0           0           0           0         0         0
                           9               0          0          0          0          0             0         0           0           0           0           0           0         0    28,410
                          10               0          0          0          0          0             0         0           0           0           0           0           0    25,000    25,000
                          11               0          0          0          0          0             0         0           0           0           0           0           0         0         0
                          12                                                                                                                                                         0         0
                          13         213,439    208,679    173,805    180,305    151,355       146,700   135,326     144,626     124,201     134,876     117,801     128,601   404,248   214,700
                          14
                          15
                          16
                          17               0          0          0          0          0            0          0           0           0           0           0          0         0    293,000
                          18               0          0          0          0          0            0          0           0           0           0           0          0         0          0
                          19               0          0          0          0          0            0          0           0           0           0           0          0         0    293,000
                          20
                          21         213,439    208,679    173,805    180,305    151,355       146,700   135,326     144,626     124,201     134,876     117,801     128,601   404,248   507,700
                          22




               Case 17-34449-dwh12
                          23
                          24
                          25
                          26               0      7,600                 5,500          0        11,500         0      12,000           0      17,000           0      12,000    80,600   112,596
                          27               0     12,400          0      9,500          0         8,000         0           0           0           0           0           0    46,100    50,300




               Doc 58
                          28                      8,800                 6,600                    8,200                 5,600                   7,200                   4,900    55,700    68,900
                          29           1,200          0      1,300          0          0             0         0           0           0           0           0           0     9,000     9,000
                          30               0          0          0          0          0             0         0           0           0           0           0           0     6,000     6,000
                          31           1,100      1,100      2,300      2,300      1,100         1,100     2,200       2,200       1,100       1,100       1,100           0    20,000    20,870
                          32               0        750          0        750          0             0         0           0         500           0           0           0     2,750     5,200
                          33               0          0          0          0          0             0         0           0           0           0           0           0         0     1,400
                          34               0          0          0      2,000          0             0         0           0           0           0           0           0     3,500     3,500
                          35               0          0          0          0          0             0         0           0           0           0       2,000           0     2,000     2,000
                          36               0          0          0          0          0             0         0           0           0           0           0           0    21,560    48,560




               Filed 12/28/17
                          37               0          0          0          0          0             0         0           0           0           0           0       3,665     3,665     3,665
                          38               0          0          0          0          0             0         0           0           0           0           0           0         0         0
                          39               0          0          0          0          0             0         0           0           0           0           0           0         0         0
                          40               0          0          0          0          0         3,400         0           0           0           0           0           0     3,400     4,670
                          41               0          0          0          0          0           300         0           0           0         250           0           0       550       550
                          42               0          0          0          0          0             0         0           0           0           0           0         400       400       400
                          43             450          0          0          0        500             0         0           0         650           0           0           0     1,600     2,111
                          44             285          0          0        100        285             0         0           0         100         285           0           0     1,440     1,925
                          45             275          0          0        275          0             0         0           0         275           0           0           0     1,100     1,650
                          46               0        175          0        125          0           175         0         125           0         175           0         125     1,200     1,625
                          47               0          0          0          0          0             0         0           0       1,200           0           0           0     2,050     2,550
                          48               0        750          0          0          0             0         0           0           0           0           0           0     1,500     2,000
                          49               0          0          0          0      1,400             0         0           0           0           0           0           0     2,800     3,260
                          50               0          0          0        500          0             0         0           0           0         500           0           0     1,500     2,388
                  Page 3 of 4
                          51               0     1,195         0         0         0     1,195         0         0         0     1,195         0        0     4,780     5,975
                          52               0         0         0         0       870         0         0         0         0       870         0        0     3,480     4,299
                          53               0     1,404         0         0         0     1,404         0         0         0         0         0        0     4,612     5,320
                          54             950         0         0         0         0         0         0         0         0         0         0        0       950       950
                          55               0         0       600         0         0       600         0         0         0         0       600        0     2,400     3,000
                          56               0         0         0         0         0         0         0         0         0         0         0    4,500     7,300     7,300
                          57               0         0         0         0         0         0         0         0         0         0         0   25,000    25,000    25,000
                          58               0         0         0         0         0         0         0         0         0         0         0   10,000    10,000    10,000
                          59               0       200       800       800         0         0         0         0         0         0         0        0     1,800     1,950
                          60               0         0         0         0         0         0         0         0         0         0         0        0         0       100




Exhibit 1 - Page 4 of 4
                          61             500       500       500       500       500       500       500       500       500       500       500      500     8,000     9,300
                          62           4,760    34,874     5,500    28,950     4,655    36,374     2,700    20,425     4,325    29,075     4,200   61,090   336,737   428,314
                          63
                          64
                          66              0         0         0         0         0         0         0         0         0         0         0        0         0          0
                          67              0         0         0         0         0         0         0         0         0         0         0        0         0     11,875
                          68              0         0         0         0         0         0         0         0         0         0         0        0         0          0
                          69              0         0         0         0         0         0         0         0         0         0         0        0         0     11,875
                          70
                          71           4,760    34,874     5,500    28,950     4,655    36,374     2,700    20,425     4,325    29,075     4,200   61,090   336,737   440,189
                          72
                          73           4,760    34,874     5,500    28,950     4,655    36,374     2,700    20,425     4,325    29,075     4,200   61,090   336,737   440,189
                          74
                          75
                          76         208,679   173,805   168,305   151,355   146,700   110,326   132,626   124,201   119,876   105,801   113,601   67,511    67,511    67,511




               Case 17-34449-dwh12
               Doc 58
               Filed 12/28/17
                  Page 4 of 4
In re Steven S. and Brenda K. Sobella;
Ch 12 Bankruptcy Case No. 17-34449-dwh12 (Lead Case)
In re Sobella Nursery, Inc.;
Ch 12 Bankruptcy Case No. 17-34446-dwh12
Service List

Steven S. Sobella
Brenda K. Sobella
29830 SE Wheeler Rd.
Boring, OR 97009

Sobella Nursery, Inc.
Attn: Steve S. Sobella
PO Box 1138
Boring, OR 97009

Special Notice:

PRA Receivables Management
LLC, PO Box 41021,
Norfolk, VA 23541

Lien Creditor:

Northwest Farm Credit Services, PCA
Northwest Farm Credit Services, FLCA
650 Hawthorne Ave Se, Ste 210
Salem, OR 97301

 Electronic Mail:

 The foregoing was served on all
 CM/ECF participants through the
 Court's Case Management/
 Electronic Case File system.




                         Case 17-34449-dwh12    Doc 58   Filed 12/28/17
